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AO 187 (Rev. 7/87) | USDC/CRT-009 (Rev. 1/16) Exhibit and Witness List

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

AT CHARLESTON

UNITED STATES OF AMERICA,

FILED

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v. EXHIBIT AND WITNESS LIST
TIMOTHY EDWIN PAYNE JR.
Case Number: 2:22-cr-00108
PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANT'S ATTORNEY
Honorable Thomas E. Johnston —_[¥]] Jeremy Wolfe John Carr
TRIAL DATE (8) COURT REPORTER COURTROOM DEPUTY
1-17-23 Ayme Cochran [=] Staci Wilson
He — ones MARKED | ADMITTED DESCRIPTION OF EXHIBITS* OR NAME OF WITNESSES
1 1-17-23

Brandon Holestine

* Include a notation as to the location of any exhibit not held with the case file or not available because of size

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Pages

